                Case 5:17-cv-01001-BLF Document 3-2 Filed 03/06/17 Page 1 of 8



 1   C. Alex Naegele (SBN 255887)
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 2   A PROFESSIONAL LAW CORPORATION
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     San Jose, CA, 95113
 4   Telephone: (408) 995-3224
     Facsimile: (408) 890-4645
 5   Email: alex@canlawcorp.com
 6
     Attorney for Debtor/Appellant
 7   LAURA GENS
 8
                               UNITED STATES BANKRUPTCY COURT
 9
                               NORTHERN DISTRICT OF CALIFORNIA
10
                                           SAN JOSE DIVISION
11
12   In re:                                           )   BK Case No. 15-53562-SLJ
                                                      )
13   LAURA GENS                                       )   Chapter 7
                                                      )
14
                         Debtor.                      )   APPELLANT’S DESIGNATION OF
15                                                    )   ITEMS TO BE INCLUDED IN RECORD
                                                      )   ON APPEAL
16                                                    )
17                                                    )

18
              Appellant Laura Gens (“Appellant” or “Debtor”) hereby designates, pursuant to Federal
19
     Rule of Bankruptcy Procedure (“FRBP”) 8009, the following items below to be included in the
20
     record on appeal:
21
              1) The docket entries kept by the bankruptcy clerk (i.e. the docket report) in this case
22
                 (FRBP 8009(a)(4)(i)).
23
              2) Appellant’s designation of items to be included on the record identified by ECF
24
                 number, below, including all attachments listed in sub-numbers (e.g. 50-1, 50-2,
25
                 etc…) (FRBP 8009(a)(4)(ii)).
26
              3) Appellant’s Notice of Appeal (FRBP 8009(a)(4)(iii)).
27
              4) The Order being appealed from (FRBP 8009(a)(4)(iv)).
28



                              APPELLANT’S DESIGNATION OF RECORD ON APPEAL - 1
     Case:
      Case:15-53562
            15-53562 Doc#
                      Doc#191
                           197-2Filed:
                                    Filed:
                                       02/27/17
                                           03/01/17Entered:
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 1          5) All opinions and findings of fact and conclusions of law relating to issues on appeal,
 2                including transcripts of all oral rulings (FRBP 8009(a)(4)(vii)).
 3          6) The transcripts ordered under FRBP 8010(a)(1) ((FRBP 8009(a)(4)(viii); and
 4          7) Appellant’s designation of record on appeal (i.e. this document).
 5
 6       FILING        DOCKET
                                                                  TITLE
         DATE           NO.
 7
 8                                Chapter 11 Voluntary Petition WITH CHAPTER 11 MEANS
 9     11/11/2015          1      TEST, Fee Amount $1717, Filed by Laura Gens. Order
                                  Meeting of Creditors due by 11/18/2015. (Fuller, Lars)
10
11                                Chapter 11 Plan of Reorganization and, Disclosure Statement
       11/25/2015         17      dated Nov. 25, 2015 Filed by Debtor Laura A. Gens.
12                                (Attachments: # 1 Certificate of Service) (Fuller, Lars)
13
                                  Motion to Convert Case to Chapter 7 Fee Waived, or in the
14                                alternative Motion to Dismiss Case Filed by U.S. Trustee
       01/25/2016         40      Office of the U.S. Trustee / SJ (Attachments: # 1 Declaration
15                                of Greg Hartman # 2 Certificate of Service) (Hsu, Shining)
16                                (Entered: 01/25/2016)

17                                Brief/Memorandum in Opposition to UST Motion to Dismiss
                                  or Convert (RE: related document(s)40 Motion to Convert
18     02/10/2016         48
                                  Case to Chapter 7, Motion to Dismiss Case). Filed by Debtor
                                  Laura A. Gens (Fuller, Lars) (Entered: 02/10/2016)
19
20
                                  Declaration of Attorney in Opposition of UST Motion to
21                                Dismiss or Convert (RE: related document(s)40 Motion to
                          49
       02/10/2016                 Convert Case to Chapter 7, Motion to Dismiss Case). Filed
22
                                  by Debtor Laura A. Gens (Attachments: # 1 Exhibit) (Fuller,
23                                Lars) (Entered: 02/10/2016)

24
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                               APPELLANT’S DESIGNATION OF RECORD ON APPEAL - 2
     Case:
      Case:15-53562
            15-53562 Doc#
                      Doc#191
                           197-2Filed:
                                    Filed:
                                       02/27/17
                                           03/01/17Entered:
                                                      Entered:
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 1
                              Declaration of Timothy Gens in Opposition of UST Motion to
 2                            Dismiss or Convert (RE: related document(s)40 Motion to
                              Convert Case to Chapter 7, Motion to Dismiss Case). Filed
 3                            by Debtor Laura A. Gens (Attachments: # 1 Exhibit # 2
       02/10/2016     50
 4                            Exhibit # 3 Exhibit # 4 Exhibit # 5 Exhibit # 6 Exhibit)
                              (Fuller, Lars) ERROR: PDF REFLECTS INCORRECT
 5                            HEARING DATE. Modified on 2/11/2016 (myt). (Entered:
                              02/10/2016)
 6
 7                            Chapter 11 Plan of Reorganization and, Disclosure Statement
                              dated Feb. 11, 2016 [Proposed] Filed by Debtor Laura A.
 8     02/12/2016     52
                              Gens. (Attachments: # 1 Certificate of Service) (Fuller, Lars)
 9                            (Entered: 02/12/2016)

10
                              Motion to Compel Acceptance of Mortgage Payment Filed by
11
       03/02/2016             Debtor Laura A. Gens (Attachments: # 1 Declaration of
                      56
12                            Debtor # 2 Exhibit 1) (Fuller, Lars) (Entered: 03/02/2016)

13
                              Order Approving Disclosure Statement Aspects of Combined
14                            Plan And Disclosure Statement Dated Feb. 11, 2016 and
15                            Setting Hearing on Confirmation. (RE: related document(s)53
                              Notice of Hearing filed by Debtor Laura A. Gens).
16     03/14/2016     60
                              Confirmation Hearing scheduled for 4/7/2016 at 01:30 PM
                              at San Jose Courtroom 3099 Johnson. Ballots due by 4/4/2016. Last
17
                              day to object to confirmation is 3/31/2016. (no) (Entered:
18                            03/15/2016)

19                            Hearing Held (related document(s): 40 Motion to Convert
20                            Case to Chapter 7 filed by Office of the U.S. Trustee/SJ)
                              (Appearances: Shining Hsu for UST, Sam Taherian for
       03/23/2016
21                            debtor, Dean Rallis for WFB) for the reasons indicated on the
                              record the motion is denied without prejudice (no order
22                            required/docket entry sufficient). (tb ) (Entered: 03/24/2016)
23
24                            Objection to Confirmation of Plan with Proof of Service Filed
       03/30/2016     61      by Creditor WELLS FARGO BANK, N.A. (Rallis, Dean)
25                            (Entered: 03/30/2016)
26
27                            Summary of Ballots Filed by Debtor Laura A. Gens (Fuller,
       04/04/2016     67
                              Lars) (Entered: 04/04/2016)
28



                           APPELLANT’S DESIGNATION OF RECORD ON APPEAL - 3
     Case:
      Case:15-53562
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                      Doc#191
                           197-2Filed:
                                    Filed:
                                       02/27/17
                                           03/01/17Entered:
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 1
                              Brief/Memorandum in support of Confirmation (RE: related
 2                            document(s)52 Chapter 11 Plan, Disclosure Statement). Filed by
 3     04/05/2016     68      Debtor Laura A. Gens (Attachments: # 1 Declaration # 2
                              Declaration # 3 Declaration # 4 Declaration #5 Certificate of
 4                            Service) (Fuller, Lars) (Entered: 04/05/2016)
 5
                              Objection (Limited) to Debtor's Motion to Compel
 6                            Acceptance of Mortgage Payment (RE: related
                      69
       04/07/2016             document(s)56 Motion to Compel). Filed by Creditor
 7                            WELLS FARGO BANK, N.A. (Rallis, Dean) (Entered:
 8                            04/07/2016)

 9                            Order Granting Motion To Compel (Related Doc # 56) (no)
       04/26/2016     73
10                            (Entered: 04/26/2016)

11
                              Stipulated Protective Order (RE: related document(s)52
                      79
12     06/27/2016             Chapter 11 Plan filed by Debtor Laura A. Gens, Disclosure
                              Statement). (no) (Entered: 06/27/2016)
13
14                            Chapter 11 Plan of Reorganization and, Disclosure
       11/08/2016    114      Statement Dated November 4, 2016 Filed by Debtor Laura
15                            A. Gens. (Fuller, Lars) (Entered: 11/08/2016)
16
17                            Motion to Dismiss Case or Convert Case to Chapter 7;
                     130      Memorandum of Points and Authorities in Support Thereof
18     12/28/2016
                              Filed by Creditor WELLS FARGO BANK, N.A. (Rallis,
                              Dean) (Entered: 12/28/2016)
19
20
                              Omnibus Request To Take Judicial Notice (RE: related
21                            document(s)130 Motion to Dismiss Case, 132 Motion
22                            Miscellaneous Relief). Filed by Creditor WELLS FARGO
       12/28/2016    134
                              BANK, N.A. (Attachments: # 1 Exhibit 17# 2 Exhibit 812
23                            # 3 Exhibit 1317 # 4 Exhibit 1819)
                              (Rallis, Dean) (Entered: 12/28/2016)
24
25
26
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28



                           APPELLANT’S DESIGNATION OF RECORD ON APPEAL - 4
     Case:
      Case:15-53562
            15-53562 Doc#
                      Doc#191
                           197-2Filed:
                                    Filed:
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 1
                              Omnibus Declaration of Zenobia Smith in in support of (RE:
 2                            related document(s)130 Motion to Dismiss Case, 132
 3                            Motion Miscellaneous Relief). Filed by Creditor WELLS
                     135
       12/28/2016             FARGO BANK, N.A. (Attachments: # 1 Exhibit 1 (Part 1 of
 4                            5) # 2 Exhibit 1 (Part 2 of 5) # 3 Exhibit 1 (Part 3 of 5) # 4
                              Exhibit Exhibit 1 (Part 4 of 5) # 5 Exhibit 1 (Part 5 of 5))
 5                            (Rallis, Dean) (Entered: 12/28/2016)
 6
 7                            Omnibus Declaration of Dean G. Rallis Jr in support of (RE:
                     136      related document(s)130 Motion to Dismiss Case, 132
 8     12/28/2016
                              Motion Miscellaneous Relief). Filed by Creditor WELLS
                              FARGO BANK, N.A. (Rallis, Dean) (Entered: 12/28/2016)
 9
10                            Proposed Document Filed Under Seal (RE: related
11                            document(s)130 Motion to Dismiss Case filed by Creditor
                     137
       12/28/2016             WELLS FARGO BANK, N.A.). (Attachments: # 1 Exhibit
12                            14# 2 Exhibit 59) Filed by Creditor WELLS FARGO
                              BANK, N.A. (Rallis, Dean) (Entered: 12/28/2016)
13
14                            Declaration of Alan Kessler in support of (Redacted) (RE:
                     138      related document(s)130 Motion to Dismiss Case). Filed by
15     12/28/2016
                              Creditor WELLS FARGO BANK, N.A. (Attachments: # 1
16                            Exhibit 19) (Rallis, Dean) (Entered: 12/28/2016)

17
                              Declaration of Mark T. Flewelling in support of (RE: related
18                            document(s)132 Motion Miscellaneous Relief). Filed by
       12/28/2016    139
                              Creditor WELLS FARGO BANK, N.A. (Attachments: # 1
19                            Exhibit 18) (Rallis, Dean) (Entered: 12/28/2016)
20
                              Status Conference Statement (RE: related document(s)128
21                            Order To Set Hearing). Filed by Debtor Laura A. Gens
22                            (Attachments: # 1 Certificate of Service) (Fuller, Lars).
       12/29/2016    143      Related document(s) 8 Notice of Status Conference.
23                            CORRECTIVE ENTRY: COURT ADDED LINKAGE TO
                              RELATED DOCUMENT. Modified on 12/30/2016 (no).
24
                              (Entered: 12/29/2016)
25
26                            Declaration of Timothy Gens in Support of The Combined
                              PLAN . Filed by Debtor Laura A. Gens (Fuller, Lars).
       01/03/2017    146
27                            Related document(s) 114 Chapter 11 Plan filed by Debtor
                              Laura A. Gens.
28



                           APPELLANT’S DESIGNATION OF RECORD ON APPEAL - 5
     Case:
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                           197-2Filed:
                                    Filed:
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 1
                              Hearing Held (related document(s): 114 Chapter 11 Plan
 2                            filed by Laura A. Gens) (Appearances: Lars Fuller for
       01/06/2017             debtor, Minnie Loo for UST, Dean Rallis for WFB) not
 3                            approved for the reasons indicated. (tb ) (Entered:
 4                            01/06/2017)

 5
                              Declaration of Michael C. Bush in support of Combined
 6                            plan (RE: related document(s)114 Chapter 11 Plan,
                     148
       01/11/2017             Disclosure Statement). Filed by Debtor Laura A. Gens
 7                            (Attachments: # 1 Exhibit 1) (Fuller, Lars) (Entered:
 8                            01/11/2017)

 9
                              Declaration of Laura Gens in support of the Combined Plan
10                            (RE: related document(s)114 Chapter 11 Plan, Disclosure
       01/11/2017    149
                              Statement). Filed by Debtor Laura A. Gens (Attachments: #
11
                              1 Attachment) (Fuller, Lars) (Entered: 01/11/2017)
12
13                            Brief/Memorandum in Opposition to Wells Fargo Bank's
                              Motion to Dismiss or Convert (RE: related document(s)130
14     01/11/2017    153      Motion to Dismiss Case). Filed by Debtor Laura A. Gens
                              (Attachments: # 1 Declaration of Debtor) (Fuller, Lars)
15
                              (Entered: 01/11/2017)
16
17                            Request To Take Judicial Notice of Authenticity of
                              Documents (RE: related document(s)153 Opposition
18                            Brief/Memorandum). Filed by Debtor Laura A. Gens
       01/11/2017    154      (Attachments: # 1 Document No. 1 # 2 Document No. 2 # 3
19
                              Document No. 3 # 4 Document No. 4 # 5 Document No. 5 #
20                            6 Document No. 6 # 7 Document No. 7 # 8 Document No. 8
                              # 9 Document No. 9) (Fuller, Lars) (Entered: 01/11/2017)
21
22
                              Reply (RE: related document(s)130 Motion to Dismiss
23                   157      Case, 153 Opposition Brief/Memorandum). Filed by
       01/18/2017
                              Creditor WELLS FARGO BANK, N.A. (Rallis, Dean)
24                            (Entered: 01/18/2017)
25
26
27
28



                           APPELLANT’S DESIGNATION OF RECORD ON APPEAL - 6
     Case:
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                      Doc#191
                           197-2Filed:
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 1
                              Declaration of Laura Gens in support of the Combined Plan
 2                            (RE: related document(s)133 Notice of Hearing). Filed by
                              Debtor Laura A. Gens (Attachments: # 1 Attachment)
 3     01/24/2017    159      (Fuller, Lars). Related document(s) 114 Chapter 11 Plan
 4                            filed by Debtor Laura A. Gens. CORRECTIVE ENTRY:
                              COURT ADDED LINKAGE TO RELATED DOCUMENT.
 5                            Modified on 1/25/2017 (no). (Entered: 01/24/2017)
 6
                              Hearing Held (related document(s): 130 Motion to Dismiss
 7                            Case filed by WELLS FARGO BANK, N.A.) (Appearances:
                              Minnie Loo for UST, Lars Fuller for debtor, Dean Rallis for
 8     01/25/2017
                              WFB and Matthew Pham (listen mode only)) for the reasons
 9                            indicated the court converts case to chapter 7 Mr. Rallis to
                              upload an order. (tb ) (Entered: 01/25/2017)
10
11                            Order Granting Motion to Convert Case to Chapter 7.
                              Trustee Doris A. Kaelin added to the case Order Meeting of
12                            Creditors due by 2/15/2017. Financial Management
13                            Certificate due by 3/20/2017. Related document(s) 130
       02/01/2017    163
                              Motion to Dismiss Case or Convert Case to Chapter 7;
14                            Memorandum of Points and Authorities in Support Thereof
                              filed by Creditor WELLS FARGO BANK, N.A. (no).
15                            (Entered: 02/01/2017)
16
                              Notice of Chapter 7 Bankruptcy Case, Meeting of Creditors, and
17     02/01/2017    164
                              Deadlines (Generated) (no) (Entered: 02/01/2017)
18
19                            FINAL REPORT AND ACCOUNT PURSUANT TO RULE
                              1019 OF THE DEFERAL RULES OF BANKRUPTCY
20     02/10/2017    171
                              PROCEDURE; VERIFICATION. Filed by Debtor Laura A.
21                            Gens (Weng, Nancy) (Entered: 02/10/2017)

22
                              Notice of Appeal to BAP , Fee Amount $ 298. (RE: related
23
                              document(s)163 Order Converting Case to Chapter 7).
                     172
24     02/13/2017             Appellant Designation due by 02/27/2017. Transmission to BAP
                              due by 02/16/2017. (Attachments: # 1 Exhibit A) Filed by
25                            Debtor Laura A. Gens (Naegele, Charles) (Entered: 02/13/2017)
26
                              Certificate of Service (RE: related document(s)172 Notice of
27     02/13/2017    173      Appeal). Filed by Debtor Laura A. Gens (Naegele, Charles)
                              (Entered: 02/13/2017)
28



                           APPELLANT’S DESIGNATION OF RECORD ON APPEAL - 7
     Case:
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                           197-2Filed:
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 1
                               Notice of Docketing Record on Appeal to BAP. Case Number:
 2     02/16/2017     177      NC171045 (RE: related document(s)172 Notice of Appeal).
                               (no) (Entered: 02/16/2017)
 3
 4                             Transcript regarding Hearing Held 1617
                               RE: a) Hearing on Disclosure Statement Aspect of Proposed
 5                    181      Combined Chapter 11 Plan of Reorganization and Disclosure
       02/20/2017
 6                             Statement Dated November 4, 2016 Filed by Debtor: b) Objection
                               by Wells Fargo Bank, N.A.; c) Objection by United States Trustee;
 7                             d) Status Conference.
 8                             Transcript regarding Hearing Held 12517
 9                             RE: a) Motion to Dismiss Case or Convert Case to Chapter 7 Filed
                      182      by Wells Fargo Bank, N.A.; b) Opposition by Debtor; c) Motion for
10     02/20/2017
                               Allowance of Post Petition Interest, Attorney’s Fees and Costs
                               Filed by Wells Fargo Bank, N.A.; d) Opposition by Debtor; e)
11                             Status Conference.
12
                               Appellee Statement of Election to Proceed in District Court
13                             (RE: related document(s)172 Notice of Appeal filed by Debtor
       02/21/2017     183
14                             Laura A. Gens). Filed by Creditor WELLS FARGO BANK,
                               N.A. (Rallis, Dean) (Entered: 02/21/2017)
15
16                             Notice of Transfer of Appeal to District Court (RE: related
                               document(s)172 Notice of Appeal to BAP , Fee Amount $ 298.
17                             (RE: related document(s)163 Order Converting Case to Chapter
       02/22/2017     186
                               7). Appellant Designation due by 02/27/2017. Transmission to
18
                               BAP due by 02/16/2017. (Attachments: # 1 Exhibit A) Filed by
19                             Debtor Laura A. Gens). (yw) (Entered: 02/23/2017)

20
                               Statement of Issues on Appeal, (RE: related document(s)172
21                             Notice of Appeal filed by Debtor Laura A. Gens). Filed by
       02/27/2017     190
22                             Debtor Laura A. Gens (Naegele, Charles) (Entered:
                               02/27/2017)
23
24
25                                             C. ALEX NAEGELE,
                                               A PROFESSIONAL LAW CORPORATION
26
     Date: February 27, 2017                   By: /s/ C. Alex Naegele
27                                                 C. Alex Naegele
28                                                 Attorney for Debtor/Appellant
                                                   LAURA GENS


                            APPELLANT’S DESIGNATION OF RECORD ON APPEAL - 8
     Case:
      Case:15-53562
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